                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                   3:98CR7 - 10

                                               )
UNITED STATES OF AMERICA                       )
                                               )           ORDER
       v.                                      )
                                               )
JERMAINE LITTLEJOHN                 (10)       )
                                               )

        THIS MATTER IS BEFORE THE COURT on the Government’s Motion for
Reconsideration of Order Granting Sentence Reduction [doc. 506] as to defendant Jermaine
Littlejohn. On November 19, 2008, this Court entered an Order for a Sentence Reduction
Pursuant to 18 U.S.C. § 3582(c)(2). Bureau of Prison records indicate that this defendant was
released on November 26, 2008, the same day as the filing of the Government’s Motion. Since
the defendant has already been released, the Motion is denied as moot.

                                               Signed: December 3, 2008




      Case 3:98-cr-00007-GCM          Document 508       Filed 12/03/08     Page 1 of 1
